05-44481-rdd        Doc 8488   Filed 07/06/07 Entered 07/06/07 15:45:19             Main Document
                                           Pg 1 of 38


    SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
    333 West Wacker Drive, Suite 2100
    Chicago, Illinois 60606
    (312) 407-0700
    John Wm. Butler, Jr.
    John K. Lyons
    Ron E. Meisler

          - and -

    SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
    Four Times Square
    New York, New York 10036
    (212) 735-3000
    Kayalyn A. Marafioti (KM 9632)
    Thomas J. Matz (TM 5986)

    Attorneys for Delphi Corporation, et al.,
    Debtors and Debtors-in-Possession

    Delphi Legal Information Hotline:
    Toll Free: (800) 718-5305
    International: (248) 813-2698

    Delphi Legal Information Website:
    http://www.delphidocket.com

    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK
    ------------------------------ x
                                      :
         In re                        :              Chapter 11
                                      :
    DELPHI CORPORATION, et al.,       :              Case No. 05-44481 (RDD)
                                      :
                              Debtor. :              (Jointly Administered)
                                      :
    ------------------------------ x

              NOTICE OF CURE AMOUNT WITH RESPECT TO EXECUTORY
           CONTRACT OR UNEXPIRED LEASE TO BE ASSUMED AND ASSIGNED
              IN CONNECTION WITH THE SALE OF CATALYST BUSINESS

    PLEASE TAKE NOTICE THAT:

                     1.   Pursuant to the Order Under 11 U.S.C. § 363 And Fed. R. Bankr. P.

    2002 And 9014 (i) Approving Bidding Procedures, (ii) Granting Certain Bid Protections, (iii)

    Approving Form And Manner Of Sale Notices, And (iv) Setting A Sale Hearing (the
05-44481-rdd     Doc 8488        Filed 07/06/07 Entered 07/06/07 15:45:19                       Main Document
                                             Pg 2 of 38


    "Bidding Procedures Order") entered by the United States Bankruptcy Court for the Southern

    District of New York (the "Bankruptcy Court") on June 29, 2007, Delphi Corporation

    ("Delphi") and certain of its affiliates, including certain affiliated chapter 11 Debtors as set

    forth in the Agreement (the "Selling Debtor Entities")1 have entered into a Master Sale And

    Purchase Agreement ("Agreement") with Umicore and certain of its affiliates (the

    "Purchasers") for the purchase of substantially all of the assets primarily used in the catalyst

    business of Delphi. The Selling Debtor Entities hereby provide notice (the "Notice") of their

    intent to assume and assign the prepetition executory contracts or unexpired leases (the

    "Assumed Contract") listed on Exhibit 1 hereto to the Purchaser or the Successful Bidder, as

    the case may be. Capitalized terms used but not otherwise defined in this notice have the

    meanings ascribed to them in the Bidding Procedures Order.

                   2.       On the date of the closing of the transactions contemplated by the

    Agreement (the "Closing Date"), or as soon thereafter as is reasonably practicable, the Selling

    Debtor Entities will pay the amount the Selling Debtor Entities' records reflect is owing for

    prepetition arrearages, if any, as set forth on Exhibit 1 hereto (the "Cure Amount"). The

    Selling Debtor Entities' records reflect that all postpetition amounts owing under the

    Assumed Contract have been paid and will continue to be paid until the assumption and

    assignment of the Assumed Contract and that, other than the Cure Amount, there are no other

    defaults under the Assumed Contract.

                   3.       Objections, if any, to the proposed Cure Amount must (a) be in

    writing, (b) state with specificity the cure asserted to be required, (c) include appropriate

    documentation thereof, (d) conform to the Federal Rules of Bankruptcy Procedure, the Local

    1
           Under the Agreement, the Selling Debtor Entities include Delphi, Delphi Automotive Systems
           (Holding) Inc., Delphi Automotive Systems LLC, Exhaust Systems Corporation, Environmental
           Catalysts, LLC, Delphi Technologies, Inc., ASEC Manufacturing General Partnership, and ASEC Sales
           General Partnership. Certain assets will be sold under the Agreement by non-debtor affiliates of the
           Selling Debtor Entities listed on Schedule 1 to the Agreement. The Selling Debtor Entities and the
           selling non-Debtor affiliates are collectively referred to as the "Sellers."


                                                       2
05-44481-rdd     Doc 8488       Filed 07/06/07 Entered 07/06/07 15:45:19                 Main Document
                                            Pg 3 of 38


    Bankruptcy Rules for the Southern District of New York, and the Supplemental Order Under

    11 U.S.C. §§ 102(1) and 105 and Fed. R. Bankr. P. 2002(m), 9006, 9007, and 9014

    Establishing (I) Omnibus Hearing Dates, (II) Certain Notice, Case Management, and

    Administrative Procedures, entered March 20, 2006 (Docket No. 2883) (the "Supplemental

    Case Management Order") and the Amended Eighth Supplemental Order Under 11 U.S.C. §§

    102(1) and 105 and Fed. R. Bankr. P. 2002(m), 9006, 9007, and 9014 Establishing Omnibus

    Hearing Dates and Certain Notice, Case Management, and Administrative Procedures,

    entered October 26, 2006 (Docket No. 5418) (together with the Supplemental Case

    Management Order, the "Case Management Orders"), (e) be filed with the Bankruptcy Court

    in accordance with General Order M-242 (as amended) – registered users of the Bankruptcy

    Court's case filing system must file electronically, and all other parties-in-interest must file on

    a 3.5 inch disk (preferably in Portable Document Format (PDF), WordPerfect, or any other

    Windows-based word processing format), (f) be submitted in hard-copy form directly to the

    chambers of the Honorable Robert D. Drain, United States Bankruptcy Judge, United States

    Bankruptcy Court for the Southern District of New York, One Bowling Green, Room 610,

    New York, New York 10004, and (g) be served in hard-copy form so that they are actually

    received within ten days of service of this Notice upon (i) Delphi Automotive Systems LLC,

    5725 Delphi Drive, Troy, Michigan 48098 (Att'n: Legal Staff), (ii) Delphi Corporation, 5725

    Delphi Drive, Troy, Michigan 48098 (Att'n: Deputy General Counsel, Transactional &

    Restructuring), (iii) counsel to the Debtors, Skadden, Arps, Slate, Meagher & Flom LLP, 333

    West Wacker Drive, Suite 2100, Chicago, Illinois 60606 (Att'n: John K. Lyons and Brian M.

    Fern), (iv) counsel for the agent under the postpetition credit facility, Davis Polk &

    Wardwell, 450 Lexington Avenue, New York, New York 10017 (Att'n: Donald Bernstein and

    Brian Resnick), (v) counsel for the official committee of unsecured creditors, Latham &

    Watkins LLP, 885 Third Avenue, New York, New York 10022 (Att'n: Robert J. Rosenberg


                                                    3
05-44481-rdd     Doc 8488        Filed 07/06/07 Entered 07/06/07 15:45:19                 Main Document
                                             Pg 4 of 38


    and Mark A. Broude), (vi) counsel for the official committee of equity security holders,

    Fried, Frank, Harris, Shriver & Jacobson LLP, One New York Plaza, New York, New York

    10004 (Att'n: Bonnie Steingart), (vii) counsel for the Purchasers, Goodwin Procter LLP, 901

    New York Avenue, N.W., Washington, DC 20001 (Att'n: J. Hovey Kemp), and (viii) the

    Office of the United States Trustee for the Southern District of New York, 33 Whitehall

    Street, Suite 2100, New York, New York 10004 (Att'n: Alicia M. Leonhard).

                   4.       If an objection to the Cure Amount is timely filed and received, a

    hearing with respect to the objection will be held before the Honorable Robert D. Drain,

    United States Bankruptcy Judge, United States Bankruptcy Court for the Southern District of

    New York, One Bowling Green, Room 610, New York, New York 10004, at such date and

    time as the Court may schedule. A hearing regarding the Cure Amount, if any, may be

    continued at the sole discretion of the Selling Debtor Entities until after the Closing Date.

                   5.       If no objection is timely received, the Cure Amount set forth in

    Exhibit 1 hereto will be controlling, notwithstanding anything to the contrary in any Assumed

    Contract or any other document, and the non-Debtor party to the Assumed Contract will be

    deemed to have consented to the Cure Amount and will be forever barred from asserting any

    other claims as to such Assumed Contract against the Selling Debtor Entities, the Purchasers,

    or the Successful Bidder (as appropriate), or the property of either of them. The failure of

    any objecting person or entity to timely file its objection will be a bar to the assertion, at the

    Sale Hearing or thereafter, of any objection to the Sale Motion, the Sale, or the Selling

    Debtor Entities' consummation of and performance under the Agreement (including the

    transfer of the Assets and the Assumed Contracts free and clear of all Claims and Interests), if

    authorized by the Court.




                                                     4
05-44481-rdd    Doc 8488      Filed 07/06/07 Entered 07/06/07 15:45:19              Main Document
                                          Pg 5 of 38




                  6.     Prior to the Closing Date, the Selling Debtor Entities may amend their

    decision with respect to the assumption and assignment of the Assumed Contract and provide

    a new notice amending the information provided in this Notice.

    Dated: New York, New York
           July 5, 2007


                                           SKADDEN, ARPS, SLATE, MEAGHER
                                             & FLOM LLP

                                            By: /s/ John Wm. Butler, Jr.
                                                  John Wm. Butler, Jr. (JB 4711)
                                                  John K. Lyons (JL 4951)
                                                  Ron E. Meisler (RM 3026)
                                            333 West Wacker Drive, Suite 2100
                                            Chicago, Illinois 60606
                                            (312) 407-0700

                                                       - and -

                                            By: /s/ Kayalyn A. Marafioti
                                                  Kayalyn A. Marafioti (KM 9632)
                                                  Thomas J. Matz (TM 5986)
                                            Four Times Square
                                            New York, New York 10036
                                            (212) 735-3000

                                            Attorneys for Delphi Corporation, et al.,
                                             Debtors and Debtors-in-Possession




                                                 5
 05-44481-rdd       Doc 8488        Filed 07/06/07 Entered 07/06/07 15:45:19     Main Document
                                                Pg 6 of 38




A 1 Specialized Services
2707 State Rd
Croydon, PA 19021-0270




        Platinum Group Metals Supply Agreement between
       Delphi Automotive Systems LLC and A-1 Specialized
         Services dated December 1, 2004 and Letter dated          $430,384.00
          9/16/02 from A-1 Specialized Services to Delphi
                           Corporation.
 05-44481-rdd        Doc 8488        Filed 07/06/07 Entered 07/06/07 15:45:19     Main Document
                                                 Pg 7 of 38




A 1 Specialized Services & Supplies Inc
PO Box 270
Croydon, PA 19021




         Platinum Group Metals Supply Agreement between
        Delphi Automotive Systems LLC and A-1 Specialized
          Services dated December 1, 2004 and Letter dated          $430,384.00
           9/16/02 from A-1 Specialized Services to Delphi
                            Corporation.
 05-44481-rdd      Doc 8488       Filed 07/06/07 Entered 07/06/07 15:45:19   Main Document
                                              Pg 8 of 38




Corning Incorporated
Attn Corporate Secretary
One Riverfront Plz
Corning, NY 14831




                  Purchase Order No. 50186                       $9,914.40
 05-44481-rdd      Doc 8488       Filed 07/06/07 Entered 07/06/07 15:45:19      Main Document
                                              Pg 9 of 38




Corning Incorporated
Attn Corporate Secretary
One Riverfront Plz
Corning, NY 14831




                  Purchase Order No. 50187                      $2,090,033.74
 05-44481-rdd      Doc 8488       Filed 07/06/07 Entered 07/06/07 15:45:19    Main Document
                                             Pg 10 of 38




Corning Incorporated
Attn Corporate Secretary
One Riverfront Plz
Corning, NY 14831




                  Purchase Order No. 50188                       $23,883.05
 05-44481-rdd      Doc 8488       Filed 07/06/07 Entered 07/06/07 15:45:19   Main Document
                                             Pg 11 of 38




Corning Incorporated
Attn Corporate Secretary
One Riverfront Plz
Corning, NY 14831




                  Purchase Order No. 50189                       $2,395.44
 05-44481-rdd     Doc 8488        Filed 07/06/07 Entered 07/06/07 15:45:19   Main Document
                                             Pg 12 of 38




Corning Incorporated
Ron Rogers
50 W Big Beaver Rd
Troy, MI 48084




                  Purchase Order No. 50186                       $9,914.40
 05-44481-rdd     Doc 8488        Filed 07/06/07 Entered 07/06/07 15:45:19      Main Document
                                             Pg 13 of 38




Corning Incorporated
Ron Rogers
50 W Big Beaver Rd
Troy, MI 48084




                  Purchase Order No. 50187                      $2,090,033.74
 05-44481-rdd     Doc 8488        Filed 07/06/07 Entered 07/06/07 15:45:19    Main Document
                                             Pg 14 of 38




Corning Incorporated
Ron Rogers
50 W Big Beaver Rd
Troy, MI 48084




                  Purchase Order No. 50188                       $23,883.05
 05-44481-rdd     Doc 8488        Filed 07/06/07 Entered 07/06/07 15:45:19   Main Document
                                             Pg 15 of 38




Corning Incorporated
Ron Rogers
50 W Big Beaver Rd
Troy, MI 48084




                  Purchase Order No. 50189                       $2,395.44
 05-44481-rdd     Doc 8488        Filed 07/06/07 Entered 07/06/07 15:45:19   Main Document
                                             Pg 16 of 38




Corning Incorporated
Ap 01 E8b
Corning, NY 14831




                  Purchase Order No. 50186                       $9,914.40
 05-44481-rdd     Doc 8488        Filed 07/06/07 Entered 07/06/07 15:45:19      Main Document
                                             Pg 17 of 38




Corning Incorporated
Ap 01 E8b
Corning, NY 14831




                  Purchase Order No. 50187                      $2,090,033.74
 05-44481-rdd     Doc 8488        Filed 07/06/07 Entered 07/06/07 15:45:19    Main Document
                                             Pg 18 of 38




Corning Incorporated
Ap 01 E8b
Corning, NY 14831




                  Purchase Order No. 50188                       $23,883.05
 05-44481-rdd     Doc 8488        Filed 07/06/07 Entered 07/06/07 15:45:19   Main Document
                                             Pg 19 of 38




Corning Incorporated
Ap 01 E8b
Corning, NY 14831




                  Purchase Order No. 50189                       $2,395.44
 05-44481-rdd      Doc 8488        Filed 07/06/07 Entered 07/06/07 15:45:19   Main Document
                                              Pg 20 of 38




First American Capital Mgmt
Attn Dianne Evert
3000 Lakeside Dr Ste 200n
Bannockburn, IL 60018




          Purchase Order Nos. 12999, 12834 and 15588                $0.00
 05-44481-rdd      Doc 8488        Filed 07/06/07 Entered 07/06/07 15:45:19   Main Document
                                              Pg 21 of 38




First American Capital Mgmt Group
527 Marquette Ave South
1600 Rand Tower
Minneapolis, MN 55402




          Purchase Order Nos. 12999, 12834 and 15588                $0.00
 05-44481-rdd       Doc 8488        Filed 07/06/07 Entered 07/06/07 15:45:19   Main Document
                                               Pg 22 of 38




Heraeus Chemicals Sa Pty
PO Box 1987
Port Elizabeth, 06000
South Africa




         Contract between Heraeus and Delphi Automotive
                                                                     $0.00
                 Systems LLC dated July 24, 2004
 05-44481-rdd      Doc 8488       Filed 07/06/07 Entered 07/06/07 15:45:19     Main Document
                                             Pg 23 of 38




Heraeus Metal Processing Inc
c/o Jason J Dejonker Esq
Mcdermott Will & Emery Llp
227 W Monroe St
Chicago, IL 60606-5096




                  Purchase Order No. 50112                       $306,172.40
 05-44481-rdd     Doc 8488        Filed 07/06/07 Entered 07/06/07 15:45:19     Main Document
                                             Pg 24 of 38




Heraeus Metals Processing
PO Box 910468
Dallas, TX 75391-0468




                  Purchase Order No. 50112                       $306,172.40
 05-44481-rdd      Doc 8488       Filed 07/06/07 Entered 07/06/07 15:45:19     Main Document
                                             Pg 25 of 38




Heraeus Metals Processing Inc
Formerly PGP Industries
13429 Alondra Blvd
Santa Fe, CA 90670




                  Purchase Order No. 50112                       $306,172.40
 05-44481-rdd    Doc 8488        Filed 07/06/07 Entered 07/06/07 15:45:19     Main Document
                                            Pg 26 of 38




Heraeus Precious Metals Management LLC
540 Madison Avenu
New York, NY 10022




                 Purchase Order No. 50112                       $306,172.40
 05-44481-rdd       Doc 8488        Filed 07/06/07 Entered 07/06/07 15:45:19   Main Document
                                               Pg 27 of 38




Impala Platinum Limited
Isle Of Houghton
3rd Fl Old Trafford 4
Boundary Rd
Houghton, 02198
South Africa




        Precious Metals Supply Agreement dated November
         2004 between Impala Platinum Limited and Delphi
       Automotive Systems, LLC and Precious Metals Supply            $0.00
          Agreement dated December 2000 between Impala
      Platinum Limited and Delphi Automotive Systems, LLC.
 05-44481-rdd        Doc 8488        Filed 07/06/07 Entered 07/06/07 15:45:19   Main Document
                                                Pg 28 of 38




Johnson Matthey Alfa Aesar
30 Bond St
Ward Hill, MA 01835-8099




       Bailment Agreement made and entered into on October
       29, 2004 by and between Delphi Automotive Systems              $0.00
                  LLC and Johnson Matthey Inc.
 05-44481-rdd        Doc 8488        Filed 07/06/07 Entered 07/06/07 15:45:19   Main Document
                                                Pg 29 of 38




Johnson Matthey Inc
PO Box 88848
Dept 110
Chicago, IL 60695-1848




       Bailment Agreement made and entered into on October
       29, 2004 by and between Delphi Automotive Systems              $0.00
                  LLC and Johnson Matthey Inc.
 05-44481-rdd        Doc 8488        Filed 07/06/07 Entered 07/06/07 15:45:19   Main Document
                                                Pg 30 of 38




Johnson Matthey PLC
Precious Metals Marketing Division
2001 Nolte Dr
West Deptford, NJ 08066




       Bailment Agreement made and entered into on October
       29, 2004 by and between Delphi Automotive Systems              $0.00
                  LLC and Johnson Matthey Inc.
 05-44481-rdd        Doc 8488        Filed 07/06/07 Entered 07/06/07 15:45:19   Main Document
                                                Pg 31 of 38




Johnson Matthey PLC
PO Box 88877
Dept 310
Chicago, IL 60695-1877




       Bailment Agreement made and entered into on October
       29, 2004 by and between Delphi Automotive Systems              $0.00
                  LLC and Johnson Matthey Inc.
 05-44481-rdd     Doc 8488      Filed 07/06/07 Entered 07/06/07 15:45:19   Main Document
                                           Pg 32 of 38




MDIS Inc
Dept 31702
PO Box 6187
Chicago, IL 60680-6187




         Agreement between ASEC and MDIS - CHESS
                                                                 $0.00
              Agreement #2427 dated 9/29/1995
 05-44481-rdd   Doc 8488        Filed 07/06/07 Entered 07/06/07 15:45:19      Main Document
                                           Pg 33 of 38




NGK Automotive Ceramics USA Inc
119 Mazzeppa Rd
Mooresville, NC 28115




                Purchase Order No. 50028                      $2,914,235.42
 05-44481-rdd      Doc 8488       Filed 07/06/07 Entered 07/06/07 15:45:19   Main Document
                                             Pg 34 of 38




Prime Systems Incorporated
32915 Aurora Rd Ste 100
Cleveland, OH 44139




       ASEC & PRIME (Software License agreement) dated
                                                                   $0.00
                       09/16/1996
 05-44481-rdd       Doc 8488         Filed 07/06/07 Entered 07/06/07 15:45:19    Main Document
                                                Pg 35 of 38




Sabin Metal Corporation
300 Pantigo Pl
Ste 102
East Hampton, NY 11937




      Letter from Delphi Corporation dated October 23, 2002
                                                                    $10,583.35
                         to Sabin Metal.
 05-44481-rdd    Doc 8488       Filed 07/06/07 Entered 07/06/07 15:45:19   Main Document
                                           Pg 36 of 38




Shainin LLC
3115 T Ave
Anacortes, WA 98221




                Purchase Order No. 19545                         $0.00
 05-44481-rdd        Doc 8488        Filed 07/06/07 Entered 07/06/07 15:45:19   Main Document
                                                Pg 37 of 38




University Of New Mexico
Attn Sally Hayes
Dept Of Earth & Planetary Science
Albuquerque, NM 87131-1116




           University of New Mexico Industrial Sponsored
       Research Agreement between Delphi and the Regents of           $0.00
         the University of New Mexico dated March 1, 2005
 05-44481-rdd      Doc 8488      Filed 07/06/07 Entered 07/06/07 15:45:19   Main Document
                                            Pg 38 of 38




W C Heraeus GmbH & Co KG
Heraeusstr 12 – 14
Hanau, 63450
Germany




         Bailment Agreement between Delphi Automotive
     Systems LLC and W.C. Heraeus GmbH & Co., KG dated            $0.00
                         July 1, 2003.
